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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

TRUE THE VOTE, INC.,

                                        Plaintiff,

  v.                                                 Civ. No. 13-cv-00734-RBW

INTERNAL REVENUE SERVICE, et al.,
                                                     Oral Argument Scheduled
                                                     for March 2, 2017
                                      Defendants.


INDEX OF EXHIBITS IN SUPPORT OF PLAINTIFF TRUE THE VOTE’S
  OPPOSITION TO THE GOVERNMENT’S MOTION FOR SUMMARY
                        JUDGMENT

Exhibit           Title/Description

Exhibit A         House Ways and Means Committee, Brady and Roskam Letter to
                  Commissioner Koskinen, Sep. 20, 2016

Exhibit B         Government Accountability Office, Report to Congressional Requesters,
                  “IRS Examination Selection: Internal Controls for Exempt Organization
                  Selection Should Be Strengthened” (July 2015)

Exhibit C         Staff Report, House of Representatives Committee on Oversight and
                  Government Reform, “How Politics Led the IRS to Target Conservative
                  Tax-Exempt Applicants for their Political Beliefs,” 113th Cong. (June 16,
                  2014)

Exhibit D         Staff Report, House of Representatives Committee on Oversight and
                  Government Reform, “The Internal Revenue Service’s Targeting of
                  Conservative Tax- Exempt Applicants: Report of Findings for the 113th
                  Congress,” 113th Cong. (Dec. 23, 2014)

Exhibit E         Report, United States Senate, Committee on Finance, “The Internal
                  Revenue Service’s Processing of 501(c)(3) and 501(c)(4) Applications for
                  Tax-Exempt Status Submitted by ‘Political Advocacy’ Organizations
                  From 2010-2013,” Part 1 of 4 (August 5, 2015)
